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                           Exhibit B

          Plaintiff Responses to RFP 62
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



  PLAINTIFF ALAN ANDERSEN’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Alan Andersen (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First

Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed

claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:


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      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:

      Based on the forgoing objections, Plaintiff will not be producing any responsive

documents to this request.

REQUEST NO. 64:

      All DOCUMENTS listed and/or identified in YOUR Initial Disclosures.


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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.889 Filed 09/23/21 Page 5 of 73



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



  PLAINTIFF BARBARA ASIBOR’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Barbara Asibor (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First

Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.890 Filed 09/23/21 Page 6 of 73



REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



   PLAINTIFF FRANK BILOTTA’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Frank Bilotta (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First Set

of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.893 Filed 09/23/21 Page 9 of 73



REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



 PLAINTIFF STEPHEN BUCKLEW’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Stephen Bucklew (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First

Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.897 Filed 09/23/21 Page 13 of 73



claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



 PLAINTIFF TERRY BUSCHBACH’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Terry Buschbach (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First

Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.899 Filed 09/23/21 Page 15 of 73



REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



    PLAINTIFF JAMES BYRD’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

James Byrd (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First Set of

Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



 PLAINTIFF MICHAEL CELENZA’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Michael Celenza (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First

Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.905 Filed 09/23/21 Page 21 of 73



RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed

claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:


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      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:

      Based on the forgoing objections, Plaintiff will not be producing any responsive

documents to this request.

REQUEST NO. 64:

      All DOCUMENTS listed and/or identified in YOUR Initial Disclosures.


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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.907 Filed 09/23/21 Page 23 of 73



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



 PLAINTIFF KIMBERLY COOPER’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Kimberly Cooper (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First

Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.908 Filed 09/23/21 Page 24 of 73



RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed

claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:


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      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:

      Based on the forgoing objections, Plaintiff will not be producing any responsive

documents to this request.

REQUEST NO. 64:

      All DOCUMENTS listed and/or identified in YOUR Initial Disclosures.


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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.910 Filed 09/23/21 Page 26 of 73



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



   PLAINTIFF JESSICA FINCH’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Jessica Finch (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First Set

of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



 PLAINTIFF GLEN FOX’S OBJECTIONS AND RESPONSES TO DEFENDANT
      FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Glen Fox (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First Set of

Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.914 Filed 09/23/21 Page 30 of 73



REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



    PLAINTIFF JOAN GARN’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Joan Garn (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First Set of

Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed

claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:


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      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:

      Based on the forgoing objections, Plaintiff will not be producing any responsive

documents to this request.

REQUEST NO. 64:

      All DOCUMENTS listed and/or identified in YOUR Initial Disclosures.


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



   PLAINTIFF PAUL GRUNDY’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Paul Grundy (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First Set

of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



 PLAINTIFF CHRISTINA HEAVRIN’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Christina Heavrin (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First

Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed

claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:


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      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:

      Based on the forgoing objections, Plaintiff will not be producing any responsive

documents to this request.

REQUEST NO. 64:

      All DOCUMENTS listed and/or identified in YOUR Initial Disclosures.


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



  PLAINTIFF VICTORIA HECKER’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Joan Garn (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First Set of

Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed

claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:



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      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:

      Based on the forgoing objections, Plaintiff will not be producing any responsive

documents to this request.

REQUEST NO. 64:

      All DOCUMENTS listed and/or identified in YOUR Initial Disclosures.



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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                           Case No. 2:20-cv-11231-SJM-APP

      v.                                           Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



PLAINTIFF KENNETH HENRIQUES’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Kenneth Henriques (“Plaintiff”), objects and responds to Defendant FCA US LLC’s

First Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed

claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:


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      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:

      Based on the forgoing objections, Plaintiff will not be producing any responsive

documents to this request.

REQUEST NO. 64:

      All DOCUMENTS listed and/or identified in YOUR Initial Disclosures.


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                           Case No. 2:20-cv-11231-SJM-APP

      v.                                           Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



  PLAINTIFF CHRISTOPHER LANGLEY’S OBJECTIONS AND RESPONSES
      TO DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR
                         PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Christopher Langley (“Plaintiff”), objects and responds to Defendant FCA US LLC’s

First Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith


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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.932 Filed 09/23/21 Page 48 of 73



RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed

claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:


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      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:

      Based on the forgoing objections, Plaintiff will not be producing any responsive

documents to this request.

REQUEST NO. 64:

      All DOCUMENTS listed and/or identified in YOUR Initial Disclosures.


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



    PLAINTIFF JANE LOAKE’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Jane Loake (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First Set of

Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed

claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:


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      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:

      Based on the forgoing objections, Plaintiff will not be producing any responsive

documents to this request.

REQUEST NO. 64:

      All DOCUMENTS listed and/or identified in YOUR Initial Disclosures.


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



  PLAINTIFF GERALD MCGUIRE’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Gerald McGuire (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First

Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.938 Filed 09/23/21 Page 54 of 73



REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



  PLAINTIFF MAURA PETERSEN’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Maura Petersen (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First

Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.941 Filed 09/23/21 Page 57 of 73



RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed

claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:


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      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:

      Based on the forgoing objections, Plaintiff will not be producing any responsive

documents to this request.

REQUEST NO. 64:

      All DOCUMENTS listed and/or identified in YOUR Initial Disclosures.


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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.943 Filed 09/23/21 Page 59 of 73



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



   PLAINTIFF DAVIN POWELL’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Davin Powell (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First Set

of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.944 Filed 09/23/21 Page 60 of 73



REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                           Case No. 2:20-cv-11231-SJM-APP

      v.                                           Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



 PLAINTIFF RICHARD VAN ORDEN’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Richard Van Orden (“Plaintiff”), objects and responds to Defendant FCA US LLC’s

First Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.947 Filed 09/23/21 Page 63 of 73



REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



   PLAINTIFF DAVID WILSON’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

David Wilson (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First Set

of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.950 Filed 09/23/21 Page 66 of 73



REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



    PLAINTIFF CARL WOOD’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Carol Wood (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First Set

of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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REQUEST NO. 61:

        Within 90 days of YOUR initial responses to these Requests for Production,

YOUR VEHICLE for a private inspection by FCA US at an FCA US authorized

dealership chosen by you.

RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed


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claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:

      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:


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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


PAUL GRUNDY, et al.,

             Plaintiffs,                         Case No. 2:20-cv-11231-SJM-APP

      v.                                         Honorable Stephen J. Murphy, III

FCA US LLC, et al.,

             Defendants.



  PLAINTIFF ANDREW YOUNG’S OBJECTIONS AND RESPONSES TO
DEFENDANT FCA US LLC’S FIRST SET OF REQUESTS FOR PRODUCTION


      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff

Andrew Young (“Plaintiff”), objects and responds to Defendant FCA US LLC’s First

Set of Requests for Production as follows:

                            PRELIMINARY STATEMENT

      Plaintiff has not completed investigation related to this action, has not completed

discovery in this action, and has not completed preparation for trial. The following

responses and Plaintiff’s production of documents associated therewith are based on

Plaintiff’s knowledge, information, and belief at this time, and are complete under

Plaintiff’s present knowledge. These responses are based on Plaintiff’s good faith

interpretation and understanding of the requests, are subject to correction for inadvertent

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Case 2:20-cv-11231-SJM-APP ECF No. 34-3, PageID.956 Filed 09/23/21 Page 72 of 73



RESPONSE:

        Plaintiff objects to this request as going beyond a permissible request for

inspection as set forth by Rule 34, insomuch as it seeks to compel Plaintiff to present

the subject vehicle to a specific location. Under Rule 34. Plaintiff is only required to

make the vehicle available for inspection. Without waiving the said objection, Plaintiff

responds as follows:

        After counsel for the parties has met and conferred on this matter, Plaintiff will

either present the vehicle or make it available for inspection at a mutually agreeable

date, time, and location.

REQUEST NO. 62:

        All DOCUMENTS that relate to the payment of attorneys’ fees and/or costs in

this case, including all attorney fee agreements YOU signed for representation in this

case.

RESPONSE:

        Plaintiff objects to this request as unduly burdensome, oppressive, and

overbroad, inasmuch as it seeks documents that are neither relevant to any disputed

claim or defense at issue nor proportional to the needs of this case. Plaintiff also objects

to this seeks documents protected by the attorney-client privilege and the attorney-work

product doctrine. Without waiving the foregoing objections, Plaintiff responds as

follows:


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      Based on the foregoing objections, Plaintiff will not be producing any documents

responsive to this request.

REQUEST NO. 63:

      All reports prepared by or received from any witness YOU intend to elicit expert

or opinion testimony from at the class certification or trial stage of this case, as well as

other DOCUMENTS and COMMUNICATIONS prepared by, received from, or sent to

any such witness that: (1) relate to compensation for the witness’s study or testimony;

(2) identify facts or data that YOUR counsel provided and that the witness considered in

forming the expert or opinion testimony to be expressed; and (3) identify assumptions

that YOUR counsel provided and that the witness relied on in forming the expert or

opinion testimony to be expressed.

RESPONSE:

      Plaintiff objects to this interrogatory for seeking premature disclosure of expert

materials. Indeed, discovery is still in its early stages. Plaintiff also objects to this seeks

documents protected by the attorney-client privilege and the attorney-work product

doctrine. Without waiving the foregoing objections, Plaintiff responds as follows:

      Based on the forgoing objections, Plaintiff will not be producing any responsive

documents to this request.

REQUEST NO. 64:

      All DOCUMENTS listed and/or identified in YOUR Initial Disclosures.


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